Case 5:24-cv-06920-EKL   Document 79-3   Filed 05/05/25   Page 1 of 11




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             EXHIBIT 1
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      Case 5:24-cv-06920-EKL     REDACTED
                              Document 79-3 VERSION
                                             Filed 05/05/25                  Page 2 of 11




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Re:    Musi Inc. v. Apple Inc., No. 5:24-cv-06920 (N.D. Cal.)

Counsel,

You sought discovery in this case purportedly in pursuit of a theory that Apple acted in bad faith
when it removed Musi’s app from the App Store. As Judge Lee has already held, “[b]ased on the
plain language of the DPLA, Apple had the express right to remove the Musi app from the App
Store ‘at any time, with or without cause,’” and “[t]he covenant of good faith and fair dealing
cannot impose an obligation on Apple that contradicts this express term.” Dkt. 44 at 14.

Judge Lee’s decision forecloses any claim for relief, yet you have continued to demand wasteful
and burdensome discovery from Apple, which served no purpose other than harassment and which
has already needlessly increased the cost of litigation and burdened the court. See Rule 11(b)(1);
Rule 26(g)(1)(B).

Not surprisingly, discovery has now conclusively demonstrated that Apple did not act in bad faith.
It has also demonstrated that Musi knew that Apple did not act in bad faith when Musi filed its
original complaint, when it expanded upon its allegations in its preliminary injunction briefing,
and when it sought burdensome, wasteful discovery from Apple. Even more concerning, the
discovery record demonstrates that Musi (and at times its counsel) made repeated false statements
during the app dispute process. And in 2019, after Apple had removed Musi’s app in response to
repeated complaints, Musi gained re-admittance to the App Store by impersonating a complainant
and falsely representing that its issues were resolved. APL-MUSI_00009213. Musi thereafter
impersonated the same rightsholder to make a false complaint about a competitor. APL-
MUSI_000016198. Musi’s dishonesty, and the allegations of repeat infringement, easily warrant
the termination of Musi’s developer account and any developer account associated with Musi or
with its co-founders. See Dkt. 30-2 (Apple Developer Agreement) at 5. Indeed, the discovery
record shows that

                                                                       See, e.g., MUSI-0001346;
MUSI-0000861; MUSI-0000910; MUSI-0000923; MUSI-0000929.
                    PUBLIC
Case 5:24-cv-06920-EKL     REDACTED
                        Document 79-3 VERSION
                                       Filed 05/05/25   Page 3 of 11
                    PUBLIC
Case 5:24-cv-06920-EKL     REDACTED
                        Document 79-3 VERSION
                                       Filed 05/05/25   Page 4 of 11
                    PUBLIC
Case 5:24-cv-06920-EKL     REDACTED
                        Document 79-3 VERSION
                                       Filed 05/05/25   Page 5 of 11
                    PUBLIC
Case 5:24-cv-06920-EKL     REDACTED
                        Document 79-3 VERSION
                                       Filed 05/05/25   Page 6 of 11
                    PUBLIC
Case 5:24-cv-06920-EKL     REDACTED
                        Document 79-3 VERSION
                                       Filed 05/05/25   Page 7 of 11
                    PUBLIC
Case 5:24-cv-06920-EKL     REDACTED
                        Document 79-3 VERSION
                                       Filed 05/05/25   Page 8 of 11
                    PUBLIC
Case 5:24-cv-06920-EKL     REDACTED
                        Document 79-3 VERSION
                                       Filed 05/05/25   Page 9 of 11
                           PUBLIC
       Case 5:24-cv-06920-EKL     REDACTED
                               Document 79-3 VERSION
                                              Filed 05/05/25                 Page 10 of 11




Page 9
CONFIDENTIAL

   •    On August 12, 2024, Musi’s counsel, Mr. Elkin, responded to Apple’s August 8, 2024
        notice of YouTube’s complaint by stating that “[w]e have been in communication directly
        with the Complainant on this matter in order to attempt to come to a timely resolution of
        this dispute.” APL-MUSI_00000810. As Musi admitted to the Court however, as of
        August 12, 2024, Musi had not engaged in any discussions with YouTube about YouTube’s
        complaints against the Musi app since 2021. See Jan. 9, 2025 Hr’g Tr. 15:12-16:2.

In addition to responding dishonestly to claimants, Musi used fraudulent means to gain
readmittance to the App Store after its removal in 2019. On December 10, 2019, Mr. Wojnowski
emailed Apple (copying Mr. Lunny and Mr. Herstein) requesting the return of the Musi app to the
App Store based on a purported representation from Jason Miller at UMG that “[t]he changes to
your app as per your comments appear to satisfy our concerns,” sent from the email address
jasonmiller@umusic.solar-secure.com. APL-MUSI_00009213. On July 7, 2020, UMG
representative Danielle Hardy contacted Apple in-house counsel Violet Evan-Karimian to alert her
that:

        it appears that the email that Apple received from [UMG] … indicating compliance was
        fraudulent. Jason Miller has no record of sending any emails to the app developer and the
        email address that was cited is ‘jasonmiller@umusic.solar-secure.com,’ which is not a
        UMG email address. It appears that the app developer created a false email to misrepresent
        compliance on behalf of [UMG].

APL-MUSI_000016198, at -200. It further appears that Musi used the same fraudulent email
address to submit a false complaint on behalf of UMG against one of Musi’s competitors. On July
9, 2020, Ms. Hardy contacted Ms. Evan-Karimian to request that Apple restrict the claimants
authorized to file claims on behalf of UMG only to herself and David Benjamin, as UMG had
come across an “instance of someone falsely filing a copyright infringement claim with the same
fraudulent email address from Jason Miller (‘jasonmiller@umusic.solar-secure.com’) for a
different app called Yokee.” Id. at -198.

                                               ***

Much of the above information comes directly from Musi’s own files and amply demonstrates that
Musi’s original complaint was unfounded. Having engaged in discovery on these matters, Musi
and its counsel can no longer pretend to be ignorant of the facts.

Should Musi proceed by filing an amended complaint that alleges facts or claims that Musi and its
counsel know are false, or that Musi and its counsel cannot reasonably believe will have
evidentiary support, Apple will pursue all rights and remedies.
                         PUBLIC
     Case 5:24-cv-06920-EKL     REDACTED
                             Document 79-3 VERSION
                                            Filed 05/05/25   Page 11 of 11




Page 10
CONFIDENTIAL

Sincerely,

/s/ Jennifer Milici
Jennifer Milici
